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                      IN THE UNITED STATES DISTRICT COURT
                                                                                       FILED              1
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                            -   1
                                       Norfolk Division

                                                                               ULtHK, U.S. DISTRICT COU
                                                                                      NORFOLK. VA
WAINSWORTH MARCELLUS HALL,
        Petitioner,

V.                                                     CRIMINAL ACTION NO. 2:93-cr-162

UNITED STATES OF AMERICA,

              Respondent.
                                            ORDER


       Upon motion ofthe Petitioner under 18 U.S.C. § 3582(c)(2) for a reduction in the term of
imprisonment imposed based on a guideHne sentencing range that has subsequently been
lowered and made retroactive by the United States Sentencing Commission pursuant to 28

U.S.C. § 994(u), and having considered such motion, and taking into account the policy
statement set forth at U.S.S.G. §1B1.10 and the sentencing factors set forth in 18 U.S.C. §

3553(a), to the extent that they are applicable, it is hereby ORDERED that Petitioner's motion is
DENIED.


       On June 27, 1994, after a jury trial. Petitioner was found guilty of Conspiracy to

Distribute and Possess with Intentto Distribute a Mixture and Substance Containing Cocaine and

Cocaine Base (Count One), Laundering ofMonetary Instruments (Count Two), and Engaging m
a Continuous Criminal Enterprise (Count Three). ECF No. 281. On September 15, 1994, this
Court vacated Petitioner's conviction on Count One. ECF No. 378.

       At sentencing, Petitioner had a combined adjusted offense level of48, and a criminal
history category of VI. ECF No. 813 at 37, 43. Petitioner.did not receive any points for
acceptance ofresponsibility. Id. As such, Petitioner's guideline range was life imprisonment. Id.
The Court sentenced Petitioner to a term of imprisonment of two hundred forty (240) months for
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Count Two and life imprisonment for Count Three to run concurrently. EOF No. 378.

        Under Amendment 782, Petitioner's base offense level is lowered to 38. With a 4-point

increase for engaging in a continuing criminal enteiprise pursuant to § 2D1.5(a)(1) and a 2-point

increase for possession of a dangerous weapon pursuant to § 2D 1.1 (b)(1). Petitioner's adjusted
offense level is 44. Petitioner's criminal history category of VI remains the same. With a total

offense level of 44 and a criminal history category of VI, Petitioner's guideline range remains

life imprisonment. See ECF No. 814.

        Section IBl.lOofthe Sentencing Guidelines states that "[a] reducdon in the defendant's

term of imprisonment is not consistent with this policy statement and therefore is not authorized

under 18 U.S.C. § 3582(c)(2) if. . . an amendment listed in subsection (c) does not have the

effect of lowering the defendant's applicable guideline range." U.S.S.G. §1B1.10(a)(2)(B). See
also United States v. Lindsey, 556 F.3d 238, 244 (4th Cir. 2009) ("A modification is authorized
only if[] ... [the defendant's] applicable guideline range is lowered."). Because Amendment 782
does not lower Petitioner's guideline range, Petitioner is ineligible for reliefand a reduction is

not authorized.


        Except as otherwise provided, all provisions ofPetitioner's sentence shall remain the
same.



        The Clerk is DIRECTED to send a copy of this Order to Petitioner, counsel for

Petitioner, the United States Attorney, and United States Probation Office for the Eastern District

of Virginia.

        IT IS SO ORDERED.


Norfolk, Vbl'inia                                                  RaymondAjijacksM
February^, 2018                                                    United StatesDistrictJudge
